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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA, et al.,

                             Plaintiffs,

                     v.                                        Case No.: 1:21-cv-11558


AMERICAN AIRLINES GROUP INC. and
JETBLUE AIRWAYS CORPORATION,

                             Defendants.



            CERTIFICATION OF ARTHUR T. DURST IN SUPPORT OF
                  MOTION FOR ADMISSION PRO HAC VICE


     I, Arthur T. Durst, state as follows:

     1.     I am an Assistant Attorney General at the Office of the Attorney General for the

     District of Columbia, located at 400 6th St., N.W., Washington, D.C. 20001. My office

     phone number is (202) 442-9853.

     2.     I am representing Plaintiff District of Columbia in the above-captioned matter and

     submit this statement in support of a motion for leave to practice before this Court pro

     hac vice under Local Rule 83.5.3.

     3.     I am admitted to practice before the highest court in the Commonwealth of

     Virginia and the District of Columbia.

     4.     I am a member of the bar in good standing in every jurisdiction in which I have

     been admitted to practice.
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      5.     There are no disciplinary proceedings against me pending in any jurisdiction

      where I am a member of the bar.

      6.     I have not been previously had pro hac vice admission to practice to this Court (or

      other admission for a limited purpose) revoked for misconduct.

      7.     I have read and agree to comply with the Local Rules of the United States District

      Court for the District of Massachusetts.



      I declare under penalty of perjury that the foregoing is true and correct.



Executed: October 1, 2021                                    /s/ Arthur T. Durst
                                                             Arthur T. Durst
